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                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE SOUTHERN DISTRICT OF OHIO
                                   EASTERN DIVISION

  JAMES ENGLAND,
                                                            Case No. 2:19-cv-1049
         Plaintiff,
                                                            Judge Sarah D. Morrison
                 v.
                                                            Magistrate Judge Kimberly A. Jolson
  CITY OF COLUMBUS, et al.,
                                                                   NOTICE OF APPEARANCE
         Defendants.


        Defendants City of Columbus, Keith Abel, Douglas Fulwider, Amando Dungey, and

Kenneth Griffis hereby give notice to the Court and to Plaintiff James England that Assistant City

Attorney Andrew D.M. Miller (0074515) is appearing as their attorney of record in this matter and

will be serving as their trial counsel. Please include him on all filings and correspondence related

to this civil action or the subject matter of this civil action.

                                                      Respectfully submitted,
                                                      /s/ Andrew D.M. Miller
                                                      Andrew D.M. Miller (0074515)
                                                      Assistant City Attorney
                                                      CITY OF COLUMBUS, DEPARTMENT OF LAW
                                                      ZACH KLEIN, CITY ATTORNEY
                                                      77 North Front Street, Fourth Floor
                                                      Columbus, Ohio 43215
                                                      (614) 645-6947 / (614) 645-6949 (fax)
                                                      admmiller@columbus.gov

                                                      Attorney for Defendants
  Case: 2:19-cv-01049-SDM-KAJ Doc #: 6 Filed: 08/14/19 Page: 2 of 2 PAGEID #: 64




                                 CERTIFICATE OF SERVICE

       The undersigned hereby certifies that, on August 14, 2019, he electronically filed the

foregoing (and any exhibits referenced therein) with the Clerk of this Court by using the Court’s

e-Filing System, which will send notice of the electronic filing(s) to counsel of record for all other

parties to these proceedings.

                                                    /s/ Andrew D.M. Miller
                                                    Andrew D.M. Miller (0074515)




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